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10
                                      UNITED STATES DISRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12

13
        ROBBIE POWELSON,
14
                         Plaintiff,                         CASE NO. 3:22-cv-01809-EMC (RMI)
15
                   v.
16                                                          STATUS REPORT RE: MARINSHIP
       CITY OF SAUSALITO, et al.,                           ENCAMPMENT PRO SE LITIGATION
17
      Defendant.
18
                                                            Action Filed: March 22, 2022
19
                                                            Trial Date: None set.
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                                                       1.
                                                                DEFENDANT’S PRO SE SETTLEMENT UPDATE
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               Ahead of the status conference scheduled for October 11 at 2:30 p.m. before Judge Edward
 1

 2   Chen Defendant City of Sausalito provides the Court with the following updates relating to the

 3   following pro se cases. To preserve Court resources and for purposes of administrative clarity,
 4
     Defendant City of Sausalito is filing this status report only in the case 3:22-cv-01809-EMC - Powelson
 5
     v. City of Sausalito et al:
 6

 7             3:22-cv-00928-EMC - Deschamps v. City of Sausalito et al

 8             3:22-cv-01810-EMC - Allen v. City of Sausalito et al

 9             3:22-cv-01809-EMC - Powelson v. City of Sausalito et al

10             3:22-cv-01995-EMC - Bruce v. Gregory et al

11             3:22-cv-02098-EMC - Moffit v. City of Sausalito et al

12             3:22-cv-02421-EMC - Chase v. Rohrbacher et al

13             3:22-cv-02441-EMC - Tuttle v. Zapata et al

14             3:22-cv-02727-EMC - Speary v. City of Sausalito et al

15       I.       Overview

16       In total, thirteen individuals filed pro se lawsuits relating to the homeless encampment at

17   Marinship Park. Although each pro se lawsuit sought different, individualized relief, all the complaints
18
     made the same substantive allegation, i.e. that the City of Sausalito violated the pro se litigants civil
19
     and constitutional rights in contravention of, inter alia, 42 U.S. Code § 1983. The following is
20
     intended to serve as a status report concerning the status of the pro se lawsuits relating to the
21

22   Marinship Encampment ahead of the status conference scheduled for October 11 at 2:30 p.m. before

23   Judge Edward Chen.
24       //
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         //
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         //
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                                                                 DEFENDANT’S PRO SE SETTLEMENT UPDATE
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           II.       Six Pro Se Litigants Are Expected To Dismiss Their Claims Pursuant to the
 1
                     Settlement in the Case Sausalito/Marin County Chapter of the California Homeless
 2                   Union et al v. City of Sausalito et al.

 3         Of the 13 pro se litigants, six1 are also signatories to the settlement agreement in the case

 4   Sausalito/Marin County Chapter of the California Homeless Union et al v. City of Sausalito et al,
 5
     NDCA Case No. 3:21-cv-01143-EMC (the “Union Case” and the “Union Case Settlement”). By the
 6
     language of that settlement agreement, the six participating individuals are required to voluntarily
 7
     dismiss all pending claims against the City of Sausalito. As a practical matter, Counsel for the City of
 8

 9   Sausalito was contacted on October 5, 2022 and informed that counsel for the Homeless Union will

10   not assist in the procurement of signatures on stipulated requests for dismissals relating to these six
11
     individuals. Counsel for Sausalito will submit dismissals relating to these six claims as it obtains
12
     signatures from the individual pro se Plaintiffs.
13
           III.      STATUS OF CASES NOT COVERED BY THE UNION SETTLEMENT
14
                     AGREEMENT
15
                     A. FOUR PRO SE CASES NOT COVERED BY THE UNION SETTLEMENT
16                      HAVE ALREADY BEEN DISMISSED BY ORDER OF THIS COURT
17                Four pro se cases were subjected to dismissal orders from this Court for mootness after the
18
     City of Sausalito provided all requested relief. Below are the pro se cases fitting this category and a
19
     brief synopsis of the facts relating to the dismissal:
20

21

22       Moffit v. City of Sausalito       NDCA                      Sausalito provided all requested relief in the form
23
         184121-0011                       3:22-cv-02098-            of an M-Class parking permit. July 11, 2022 this
         Complaint Filed:                  EMC                       Court issued an OSC as to why case should not be
24       April 1, 2022                                               dismissed. OSC was triggered by service of
                                                                     Plaintiff. Plaintiff cannot be located and her
25                                                                   whereabouts are unknown.
26

27   1
       In deference to the confidentiality provisions of the settlement agreement discussed herein, Defendants are refraining
     from identifying the names of the pro se Plaintiffs fitting this category or the correlative NDCA case numbers. Upon
28   request of the Court, Defendants will provide the list of cases fitting this category to the Court in a manner that preserves
     the confidentiality of the parties.
                                                                    3.
                                                                            DEFENDANT’S PRO SE SETTLEMENT UPDATE
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      McGann v. City of               NDCA                 Dismissed for mootness via May 6, 2022 Order.
 1
      Sausalito                       3:22-cv-02042-
 2    Complaint Filed:                EMC
      March 30, 2022
 3    Mechel Barron v. City of        NDCA                 Dismissed for mootness via August 19, 2022
      Sausalito                       3:22-cv-03113-       Order.
 4
      184121-0017                     EMC
 5    Complaint Filed:
      May 26, 2022
 6

 7    Robyn Kelly v. City of         NDCA                  Voluntarily dismissed without prejudice via
      Sausalito                      22-cv-04671           September 22, 2022 Order.
 8
      184121-0021
 9    Complaint Filed:
      August 15, 2022
10

11              B. THREE PRO SE CASES NOT COVERED BY THE UNION SETTLEMENT
12
                   PRESENT CONTINUING LITIGATION RISK

13
            As a consequence of the Union Case Settlement and the Court’s previous dismissal orders,

14   only three pro se cases present potential for additional litigation. Below are the pro se cases fitting this

15   category and a brief synopsis of the facts relating to the status of those cases:
16
      Madison Ardgall v. City of       NDCA                       Motion to Dismiss Filed September 12,
17    Sausalito                        22-cv-04722                               2022.
      184121-0022
18    Complaint Filed:                                          Ms. Ardgall cannot be located and has not
      August 17, 2022                                           been served with Defendant’s motion to
19
                                                                dismiss.
20
      Chase v. City of Sausalito, et. NDCA                      Mr. Chase was offered $700 for lost
21
      al.                             3:22-cv-02421-            property at August 15, 2022 settlement
22
      184121-0013                     EMC                       conference and expressed acceptance. The
      Complaint Filed:                                          acceptance was confirmed in subsequent
23    April 19, 2022                                            telephonic conferences. Mr. Chase requested
                                                                that Defendants send a copy of a proposed
24                                                              settlement agreement and a stipulated
25
                                                                dismissal to his email. Mr. Chase has not
                                                                responded to Defendant’s email.
26
      Tuttle v. Zapata                  NDCA                    Tuttle was placed in Muir Woods Lodge as
27
      184121-0012                       3:22-cv-02441           part of “intake” process for Marinshp
28    Complaint Filed:                                          Encampment. Further provision of relief has
      April 20, 2022                                            been impeded by Mr. Tuttle’s pit bull dogs
                                                           4.
                                                                 DEFENDANT’S PRO SE SETTLEMENT UPDATE
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                                                              which complicate his candidacy for
 1
                                                              communal housing.
 2

 3          Defendant will continue to work towards a prompt and final resolution with respect to the final

 4   three remaining cases. While City of Sausalito prefers to resolve the remaining issues through

 5   settlement agreements and stipulated dismissals, it cannot conclusively rule out filing additional

 6   motions at this juncture and will abide by any scheduling order issued by this Court with resect to the

 7   filing of any such motions.

 8
     Dated: October 6, 2022                               KAUFMAN DOLOWICH & VOLUCK, LLP
 9

10                                                                /s/ Arthur Gaus

11                                                        ARTHUR S. GAUS
                                                          JULIANNA BRAMWELL
12
                                                          Attorneys for Defendants
13                                                        CITY OF SAUSALITO

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                                                                DEFENDANT’S PRO SE SETTLEMENT UPDATE
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 1                 CERTIFICATE OF SERVICE BY ELECTRONIC TRANSMISSION

 2          I, Gwen M. Wagner, declare:

 3          I am a citizen of the United States and employed in San Francisco County, California. I am

 4   over the age of eighteen years and not a party to the within entitled action. My business address is 425

 5   California Street, Suite 2100, San Francisco, CA 94104. My e-mail address is gwagner@kdvlaw.com.

 6   On October 6, 2022, I electronically served via ECF the following document(s) described as:
           - STATUS REPORT RE: MARINSHIP ENCAMPMENT PRO SE LITIGATION
 7
            I declare under penalty of perjury under the laws of the State of California that the above is
 8
     true and correct.
 9
            Executed on October 6, 2022 at San Francisco, California.
10

11
                                                          ___________________________________
12                                                        Gwen M. Wagner
13

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                                                               DEFENDANT’S PRO SE SETTLEMENT UPDATE
